                 Case 3:08-cv-05683-BHS Document 44 Filed 12/23/10 Page 1 of 3




 1                                                                   The Honorable Benjamin H. Settle

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 7                              UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON, AT TACOMA
 8
     RENNISON V. CASTILLO,
 9                                                           Case No. C08-5683 BHS
                                             Plaintiff,
10              v.                                           STIPULATION OF DISMISSAL
                                                             (ALL CLAIMS, ALL PARTIES)
11   OFFICER LINDA M. SWARSKI, et al.,
                                                             (Clerk’s Action Required)
12                                            Defendants.

13

14   TO:        CLERK OF THE COURT

15

16              Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), it is stipulated and agreed by and between

17   all parties to this action that all claims have been fully compromised and satisfied, and that the

18   above-entitled action be dismissed with prejudice, each party to bear its own costs.

19              The clerk of the court is authorized and directed to enter in the record of the above-

20   entitled action this dismissal with prejudice.

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22   ///

23   ///

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                 Case 3:08-cv-05683-BHS Document 44 Filed 12/23/10 Page 2 of 3




 1              DATED this 23rd day of December, 2010.

 2   K&L GATES LLP                                  JENNY A. DURKAN
                                                    United States Attorney
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     By s/ Theodore J. Angelis
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                 Case 3:08-cv-05683-BHS Document 44 Filed 12/23/10 Page 3 of 3




 1
                                  CERTIFICATE OF ECF FILING AND SERVICE
 2
     I certify that on December 23, 2010, I electronically filed the foregoing document with the
 3   Clerk of the Court using the CM/ECF system, which will send notification of such filing to
 4   the following:

 5      Matt Adams                                  J. Michael Diaz
        Angelica Chazaro                            U.S. Attorney’s Office
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 7      Seattle, WA 98104                           Attorney for Defendants
        Attorney for Plaintiff
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12
                                                          s/ Theodore J. Angelis
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